          Case 5:22-cv-00787-JD Document 68 Filed 01/05/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

ELI BRIDGE, on behalf of Andrew Bridge, a         )
minor, by his next friends and parents, et al.,   )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )     Case No. CIV-22-00787-JD
                                                  )
OKLAHOMA STATE DEPARTMENT OF                      )
EDUCATION, et al. ,                               )
                                                  )
       Defendants.                                )

                                         ORDER

       Pending before the Court are State Defendants’ Motion to Dismiss [Doc. No. 47]

and Plaintiffs’ Motion for Preliminary Injunction [Doc. No. 24]. In the briefing related to

these motions, the parties rely on Adams v. School Board of St. Johns County, 3 F.4th

1299 (11th Cir. 2021). In August 2021, the Eleventh Circuit granted a petition for

rehearing en banc and vacated the panel decision. The Eleventh Circuit’s en banc order

and several concurring or dissenting opinions have now been filed and published. See

Adams v. Sch. Bd. of St. Johns Cnty., --- F.4th ----, 2022 WL 18003879 (11th Cir. 2022)

(en banc).

       The Court finds that supplemental briefing would be helpful concerning the en

banc decision in Adams, whether it impacts any of the issues or filings before this Court

(and if so, which particular filings), and the procedural sameness or differences between

the Adams case and this case. The parties should also direct the Court to and discuss any
          Case 5:22-cv-00787-JD Document 68 Filed 01/05/23 Page 2 of 2




other authority directly relevant to an issue raised in a pending motion that was issued

after the briefing on that motion was filed.

       IT IS THEREFORE ORDERED that the parties may file supplemental briefs in

response to this Order related solely to the topics mentioned above on or before Monday,

February 6, 2023. The supplemental briefs shall not exceed 20 pages.

       IT IS SO ORDERED this 5th day of January 2023.




                                               2
